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                                                                                                    ELECTRONICALLY FILED -2022 Aug 18 3:55 PM - GEORGETOWN - COMMON PLEAS - CASE#2022CP2200708
 STATE OF SOUTH CAROLINA                     ) IN THE COURT OF COMMON PLEAS
                                             )
 COUNTY OF GEORGETOWN                        ) CIVIL ACTION 2022-CP-22-


 KELLY WARD,                                    )
                                                )
                       Plaintiff,               )
                                                )
 v.                                             )                  SUMMONS
                                                )
 TRACTOR SUPPLY COMPANY,                        )
                                                )
                       Defendant.               )
                                                )
                                                )


TO THE DEFENDANT ABOVE-NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,
of which a copy is herewith served upon you,and to serve a copy of your Answer to said Complaint
in the subscribed to James B. Moore III, EVANS MOORE, LLC, 121 SCREVEN STREET,
GEORGETOWN, SOUTH CAROLINA, 29440 within THIRTY (30) DAYS after the service
hereof, exclusive of the date of such service; and if you fail to answer the Complaint within the
time aforesaid,judgment by default will be rendered against you for the relief demanded in the
Complaint.


                                     Respectfully submitted,


                                     EVANS MOORE,LLC


                                     s/James B. Moore, III
                                     James B. Moore III, SC Bar #74268
                                     Scott C. Evans, SC Bar #77684
                                     121 Screven Street
                                     Georgetown, SC 29440
                                     Office:(843)995-5000
                                     Fax:(843)527-4128

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                                  james@evansmoorelaw.com
                                  scott@evansmoorelaw.com

                                  Attorneys for the Plaintiff

August 18, 2022
Georgetown, South Carolina
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 STATE OF SOUTH CAROLINA                      ) IN THE COURT OF COMMON PLEAS
                                              )
 COUNTY OF GEORGETOWN                         ) CIVIL ACTION 2022-CP-22-


 KELLY WARD,                                      )
                                                  )
                        Plaintiff,                )
                                                  )
 v.                                               )                COMPLAINT
                                                  )            (Jury Trial Requested)
 TRACTOR SUPPLY COMPANY,                          )
                                                  )
                        Defendant.                )
                                                  )
                                                  )

       The Plaintiff, Kelly Ward, by and through her undersigned attorneys, complaining of the above-

named Defendants would allege and show unto the Court the following:

                                  JURISDICTION AND VENUE

1.     The Plaintiff Kelly Ward is a citizen and resident of the County of Georgetown, State

       of South Carolina.

2.     Upon information • and belief, Defendant Tractor Supply Company is a corporation

       organized and existing in and under the laws of Tennessee, with its principal place of

       business located at 5401 Virginia Way, Brentwood, Tennessee 37027, and maintains

       agents and servants and a business, Tractor Supply Company Store # 1457 at 1295 N.

       Fraser Street, Georgetown, in the County of Georgetown, State of South Carolina for the

       purpose ofcarrying on its business wherein customers are invited to purchase rural lifestyle

       type products.

3.     Venue in this Court is proper, as the most substantial acts and omissions giving rise to the

       causes of action occurred in Georgetown County, South Carolina.


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                                     FACTUAL ALLEGATIONS

4.      On March 17, 2022, Plaintiff Kelly Ward entered Tractor Supply Company Store #1457

        located at 1295 N. Fraser Street, Georgetown, South Carolina for the purpose of shopping.

5.      After entering the store, a Tractor Supply Company employee directed the Plaintiffto assist

        her with moving boxes utilized for containing live chicks that had been purchased by

       customers. The Tractor Supply Company employee then directed the Plaintiffto enter the

       chicken pen while carrying the boxes.

6.      Upon entering the chicken pen at the direction of the Tractor Supply Company employee,

       Plaintiff encountered the dangerous area where a bar had been placed under the door,

       causing her to trip and fall, landing on her knees.

7.     As a result of the fall, Ms. Ward injured her knees and her back, necessitating medical

        intervention. Unfortunately, Ms. Ward has been unable to fully recover from the injuries

       sustained on the property owned and managed by the Defendant and continues to be under

       the care of medical professionals.

                         NEGLIGENCE & PREMISES LIABILITY

8.     The Plaintiff repeats, re-alleges and incorporates by reference the factual allegations above

       with the same force and effect as if set forth herein.

9.      While she was inside of the store, where it is the duty of the Defendant to exercise

       reasonable care and caution in the maintenance of the chicken pen area so as to not cause

       injury or damage to Plaintiffand others rightfully therein, she encountered an unreasonably

       dangerous and hazardous condition, causing Plaintiff to fall and sustain serious and

       permanent injuries.




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10.      At all pertinent times herein alleged, the Defendant, by and through their agents, servants

         and/or employees, acted in reckless disregard for the rights of the Plaintiff, and it was by

         their negligent, grossly negligent, careless, reckless, willful and wanton acts or omissions,

         that the Defendants maintained the inside oftheir aforesaid store building in such a manner

         as to cause serious and permanent damages and injuries to the Plaintiff.

1 1.     The fall and resulting damages to Plaintiff were directly due to and proximately caused by

         the negligence, recklessness, and gross negligence of the Defendant, or their agents,

         servants, or employees, including but not limited to, one or more of the following

         particulars:

           (a) In failing to safely maintain the chicken pen area so as to not cause injury or damage

                to Plaintiff;

           (b) In directing the Plaintiff to enter the chicken pen, while carrying boxes, despite

                knowing that the area posed a safety risk;

           (c) In failing to comply with its own safety policies and procedures;

           (d) In failing to provide a safe area for a customer to enter the chicken pen area;

           (e) In failing to property inspect and properly maintain the entrance area to the chicken

                pen;

           (f) In failing to exercise reasonable care to maintain the premises ofthe Tractor Supply

                store in a safe and non-hazardous condition, which resulted in a dangerous and

                hazardous condition to its patrons, invitees and licensees;

           (g) In failing to exercise reasonable care to keep invitees and licensees of the Tractor

                Supply Store free from hazardous conditions;




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           (h) In failing to exercise reasonable care to properly inspect the Tractor Supply Store

               to ensure that it was safe for its patrons, invitees and licensees; and

          (i) In failing to exercise reasonable care to warn the public and the Plaintiff in

               particular of the dangerous condition which existed in the entrance to the chicken

               pen ofthe Tractor Supply Store.

12.     That as a direct and proximate result of the negligent, reckless and grossly negligent acts

        and/or omissions of the Defendant and/or their agents, servants, and employees,. the

        Plaintiff, Kelly Ward, was severely and permanently injured which has caused, and in the

        future will cause her to suffer the following damages:

          (a) Past and future expenses for complex treatment on her knees and back;

          (b) Substantial past and future expenses for medical, physical therapy, rehabilitative

               and pain management services;

          (c) Pain and suffering, past and future;

          (d) Emotional distress and mental anguish, past and future;

          (e) Permanently disabling injuries to her body;

          (f) Loss of enjoyment ofthe common pleasures of life;

          (g) Loss of ability to socialize and move about within the community of her friends and

              family, as her locomotion is severely limited with any movement resulting in great

               pain, suffering and discomfort; and

          (h) Other specific elements of damages which may be discovered prior to trial.

13.     That due to the reckless, willful, wanton, careless, negligent and grossly negligent conduct

        of the Defendant, and/or their agents, servants and employees, the Plaintiff is entitled to




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      actual damages, as well as punitive damages, in such amount as would deter the Defendant

      from such conduct in the future.

WHEREFORE,the Plaintiff prays unto this Honorable Court as follows:

  (a) For an award of actual, compensatory, and consequential damages in an amount to be

      determined as a jury trial;

  (b) For an award of punitive damages in an amount to be determined at a jury trial;

  (c) For such other and further relief as this Court may deem just and proper.


                                    TRIAL BY JURY IS DEMANDED.

                                    Respectfully submitted,

                                    EVANS MOORE,LLC

                                    slJames B. Moore III
                                    James B. Moore III, SC Bar #74268
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                                     121 Screven Street
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                                    Attorneys for the Plaintiff

August 18, 2022
Georgetown, South Carolina




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